     Case 2:16-cr-00046-GMN-NJK             Document 660         Filed 09/02/16      Page 1 of 2



 1
 2
 3
 4
 5
 6
 7
 8                                    UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEVADA
 9
10    UNITED STATES OF AMERICA,                      )       CASE NO.: 2:16-cr-00046-19-GMN-PAL
                                                     )
11                   Plaintiff,                      )
                                                     )
12    vs.                                            )       AMENDED ORDER APPOINTING
                                                     )       COUNSEL
13    JASON D. WOODS,                                )
                                                     )
14                   Defendant.                      )
                                                     )
15
             The individual named below, having testified under oath or having otherwise satisfied this
16
      Court that he/she: (1) is financially unable to employ counsel and (2) does not wish to waive counsel,
17
      and, because the interests of justice so require, the Court finds that the individual is indigent,
18
      therefore,
19
             IT IS ORDERED that KRISTINE M. KUZEMKA, ESQ. is hereby appointed to represent
20
      Defendant JASON D. WOODS.
21
             IT IS FURTHER ORDERED that an attorney appointed under the Criminal Justice Act
22
      will be required to apply under Fed. R. Crim. P. 17(b) for the issuance of subpoenas, whether for
23
      service within or outside of the District of Nevada. The cost of process, fees and expenses of
24
      witnesses so subpoenaed shall be paid as witness(es) subpoenaed on behalf of the Government. The
25
      Court is satisfied the individual is unable to pay fees and expenses of subpoenaed witness(es) and the
26
      United States Marshal shall provide such witness(es) subpoenaed advance funds for the purpose of
27
28
     Case 2:16-cr-00046-GMN-NJK            Document 660        Filed 09/02/16      Page 2 of 2



 1    travel within the District of Nevada and subsistence. Any subpoenas served on behalf of the
 2    individual, the return thereon to this Court shall be sealed, unless otherwise ordered.
 3           DATED this 1st day of September, 2016.
 4           Nunc Pro Tunc: March 9, 2016.
 5
 6
                                                    UNITED STATES MAGISTRATE JUDGE
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                       2
